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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY THE OIL RIG                                   MDL NO. 2179
"DEEPWATER HORIZON" IN THE
GULF OF MEXICO, ON APRIL 20,                                      SECTION “J” (1)
2010
                                                                  JUDGE BARBIER
APPLIES TO: 11-274 c/w 11-275
                                                                  MAGISTRATE
                                                                  SHUSHAN


                              PARTIAL FINAL JUDGMENT

       On November 15, 2011, the Court issued its Order and Reasons (Rec. Doc. 4588)

(“Order and Reasons”) denying a Motion for Judgment on the Pleadings filed by BP plc, BP

Exploration & Production, Inc., BP America Production Company, BP Corporation North

America, Inc., BP Company North America, Inc., BP Products North America, Inc., BP

America, Inc., and BP Holdings North America Limited (collectively, “BP”) in Action Nos. 11-

274 and 11-275 (“Insurance Actions”). Anadarko E&P Company, LP, and Anadarko Petroleum

Corporation (collectively, “Anadarko”) and MOEX Offshore 2007 LLC (“MOEX”) joined in

BP’s Motion for Judgment. On stipulation by and between Certain Underwriters at Lloyd’s,

London and Various Insurance Companies’ (“Underwriters”), Ranger Insurance Limited

(“Ranger”), Transocean Holdings LLC, Transocean Deepwater Inc. and Triton Asset Leasing

GmbH (collectively “Transocean”), and BP, Anadarko and MOEX, the Court now rules that,

pursuant to the terms of the Court’s Order and Reasons, judgment on the pleadings should be

granted against BP, Anadarko and MOEX in favor of Underwriters, Ranger and Transocean on

the declarations sought by Underwriters’, Ranger’s and Transocean’s complaints.




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       This final judgment is compelled by the specific holdings of the Court’s November 15,

2011 Order and Reasons which are set forth below:

        (1)    The Court holds that under Section II of the Policies, BP is an additional insured

               only for liabilities assumed by Transocean under the terms of the Drilling Contract.

               Rec. Doc. 4588, at 39;

       (2)     Under Article 24.2 of the Drilling Contract, the Court finds that BP assumed

               responsibility for Macondo well oil release pollution liabilities. Rec. Doc. 4588,

               at 40-41;

       (3)     Because Transocean did not assume Macondo well oil release liabilities under

               Article 24.1 of the Drilling Contract, there is no additional insurance obligation in

               favor of BP for these liabilities. Rec. Doc. 4588, at 41; and

       (4)     Because Transocean did not assume the oil pollution risks pertaining to the

               Deepwater Horizon incident—BP did—Transocean was not required to name BP

               as an additional insured as to those risks. Because there is no insurance obligation

               as to those risks, BP is not an “Insured” (or “additional insured”) for those risks.

               Rec. Doc. 4588, at 42.

       In accordance with these specific holdings, and consistent with the declarations sought by

Underwriters, Ranger and Transocean, all claims by BP, Anadarko and MOEX for coverage

under the Policies for the sub-surface pollution liabilities BP, Anadarko and MOEX have incurred

and will incur with respect to the Macondo well oil release are dismissed with prejudice.

       There being no just reason for delay and good cause appearing, a partial final judgment is

hereby entered, under Fed. R. Civ. P. 54(b), in favor of the Underwriters, Ranger and Transocean




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and against BP, Anadarko and MOEX on the Underwriters’, Ranger’s and Transocean’s

complaints.

       IT IS SO ORDERED, in New Orleans, Louisiana, on this ____ day of January, 2012.


                                                     _______________________________
                                                     The Honorable Carl J. Barbier
                                                     United States District Judge




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